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United States District Court
Central District of California
JS-3

UNITED STATES OF AMERICA vs. Docket No. CR 19-484-PSG / CR 19-508-PSG

Defendant KUNAL KALRA Social Security No. 8 _9 5. _3-
(Last 4 digits)

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akas: “Kumar,” “shecklemayne,” “coinman”

   

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MONTH DAY YEAR

 

 

 

In the presence of the attorney for the government, the defendant appeared in person on this date. |03 09 2020
COUNSEL RTND Ashley Martabano / RTND Brian Klein

 

(Name of Counsel)

PLEA | GUILTY, and the court being satisfied that there is a factual basis for the plea. [| NOLO [| NOT
CONTENDERE GUILTY

FINDING There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

Distribution of Methamphetamine, in violation of Title 21 U.S.C. § 841(a)(1), ( b)(1)(A)(viii), as charged in Count 1 of
the Information in case number CR19-484-PSG.

Operating an Unlicensed Money Transmitting Business, in violation of Title 18 U.S.C. § 1960(a), (b)(1)(B), as charged
in Count 2 of the Information in case number CR19-484-PSG.

Laundering of Monetary Instruments, in violation of Title 18 U.S.C. § 1956(a)(3)(B), as charged in Count 3 of the
Information in case number CR19-484-PSG.

Failure to Maintain an Effective Anti-Money Laundering Program, in violation of Title 31 U.S.C. § 5318(h), 5322, as
charged in Count 4 of the Information in case number CR19-484-PSG.

Conspiracy to Launder Monetary Instruments, in violation of Title 18 U.S.C. § 1956(a) & (h), as charged in the Single-
Count Information in Case Number CR19-508-PSG.

JUDGMENT] The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the

AND PROB/| contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
COMM Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
ORDER custody of the Bureau of Prisons to be imprisoned for a term of: 18 months.

 

This term consists of 18 months on each of Counts 1, 2, 3, and 4 of the Information in Docket No.
19CR00484, and Count 1 of the Information in Docket No. 19CR00508, all to be served concurrently.

It is ordered that the defendant shall pay to the United States a special assessment of $500, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less
than $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay any fine.

 

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Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3
years. This term consists of 3 years on each of Counts 1, 2, 3, and 4 of the Information in Docket No.
19CR00484, and Count 1 of the Information in Docket No. 19CR00508, all such terms to run
concurrently under the following terms and conditions:

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The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
Services Office and General Order 18-10.

During the period of community supervision, the defendant shall pay the special assessment in
accordance with this judgment's orders pertaining to such payment.

The defendant shall cooperate in the collection of a DNA sample from the defendant.

The defendant shall perform 100 hours of community service, as directed by the Probation Officer.
The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
involving currency exchange without the express approval of the Probation Officer prior to
engaging in such employment. Further, the defendant shall provide the Probation Officer with
access to any and all business records, client lists, and other records pertaining to the operation of
any business owned, in whole or in part, by the defendant, as directed by the Probation Officer.
The defendant shall not be employed in any position that requires licensing or certification by any
local, state, or federal agency without the prior written approval of the Probation Officer.

The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as
defined in Title 18 U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data
storage devices or media, email accounts, social media accounts, cloud storage accounts, or other
areas under the defendant’s control, to a search conducted by a United States Probation Officer or
law enforcement officer. Failure to submit to a search may be grounds for revocation. The
defendant shall warn any other occupants that the premises may be subject to searches pursuant
to this condition. Any search pursuant to this condition will be conducted at a reasonable time and
in a reasonable manner upon reasonable suspicion that the defendant has violated a condition of
his supervision and that the areas to be searched contain evidence of this violation.

Defendant shall maintain one personal checking account. All of defendant's income, "monetary
gains, “or other pecuniary proceeds shall be deposited into this account which shall be used for
payment of all personal expenses. Records of all other bank accounts, including any business
accounts, shall be disclosed to the Probation Officer upon request.

As directed by the Probation Officer, defendant shall provide to the Probation Officer: (1) a signed
release authorizing credit report inquiries; (2) federal and state income tax returns and a signed
release authorizing their disclosure and (3) an accurate financial statement, with supporting
documentation as to all assets, income, expenses, and liabilities of defendant.

Defendant shall truth fully and timely file and pay taxes owed for the years of conviction, and shall
truthfully and timely file and pay taxes during the period of community supervision. Further,
defendant shall show proof to the Probation Officer of compliance with this order.

The defendant shall apply all monies received from income tax refunds to the outstanding
Court-ordered financial obligation. In addition, the defendant shall apply all monies received from
lottery winnings, inheritance, judgments and any anticipated or unexpected financial gains to the
outstanding Court-ordered financial obligation.

 

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The drug testing condition mandated by statute is suspended based on the Court's determination that the
defendant poses a low risk of future substance abuse.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of
Prisons on or before 12 noon, on April 24, 2020. In the absence of such designation, the defendant shall
report on or before the same date and time, to the United States Marshal located at Roybal Federal
Building, 255 East Temple Street, Los Angeles, California 90012.

The Court recommends that the defendant be housed in a Southern California facility.
The bond is hereby exonerated upon surrender.
Today’s transcripts are ordered sealed until further order of the Court.

The defendant is advised of the right to appeal.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.

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a/v{qoeo Z —
Date U. S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

Clerk, U.S. District Court

4{ \\ \n0 By
Filed Date Deputy Clerk

 

 

 

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The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment:

1. The defendant must not commit another federal, state, or local
crime;

2. he defendant must report to the probation office in the federal
judicial district of residence within 72 hours of imposition of a
sentence of probation or release from imprisonment, unless
otherwise directed by the probation officer:

3. The defendant must report to the probation office as instructed by
the court or probation officer;

4. The defendant must not knowingly leave the judicial district
without first receiving the permission of the court or probation
officer:

5. The defendant must answer truthfully the inquiries of the probation
officer, unless legitimately asserting his or her Fifth Amendment
right against self-incrimination as to new criminal conduct;

6. The defendant must reside at a location approved by the probation
officer and must notify the probation officer at least 10 days before
any anticipated change or within 72 hours of an unanticipated
change in residence or persons living in defendant's residence;

7. The defendant must permit the probation officer to contact him or
her at any time at home or elsewhere and must permit confiscation
of any contraband prohibited by law or the terms of supervision and
observed in plain view by the probation officer;

8. The defendant must work at a lawful occupation unless excused by
the probation officer for schooling, training. or other acceptable
reasons and must notify the probation officer at least ten days
before any change in employment or within 72 hours of an
unanticipated change;

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The defendant must not knowingly associate with any persons engaged
in criminal activity and must not knowingly associate with any person
convicted ofa felony unless granted permission to do so by the probation
officer. This condition will not apply to intimate family members, unless
the court has completed an individualized review and has determined
that the restriction is necessary for protection of the community or
rehabilitation;

The defendant must refrain from excessive use of alcohol and must not
purchase, possess, use, distribute, or administer any narcotic or other
controlled substance, or any paraphernalia related to such substances,
except as prescribed by a physician:

The defendant must notify the probation officer within 72 hours of being
arrested or questioned by a law enforcement officer;

For felony cases, the defendant must not possess a firearm, ammunition,
destructive device, or any other dangerous weapon;

The defendant must not act or enter into any agreement with a law
enforcement agency to act as an informant or source without the
permission of the court;

As directed by the probation officer, the defendant must notify specific
persons and organizations of specific risks posed by the defendant to
those persons and organizations and must permit the probation officer to
confirm the defendant’s compliance with such requirement and to make
such notifications;

The defendant must follow the instructions of the probation officer to
implement the orders of the court, afford adequate deterrence from
criminal conduct, protect the public from further crimes of the defendant;
and provide the defendant with needed educational or vocational
training, medical care, or other correctional treatment in the most
effective manner.

 

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STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
for offenses completed before April 24, 1996.

If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(1)(F).

The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendants ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
3563(a)(7).

Payments will be applied in the following order:

1. Special assessments under 18 U.S.C. § 3013;
2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
States is paid):
Non-federal victims (individual and corporate),
Providers of compensation to non-federal victims,
The United States as victim;
3. Fine;
4. Community restitution, under 18 U.S.C. § 3663(c); and
5. Other penalties and costs.

CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
any line of credit without prior approval of the Probation Officer.

The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including any
business accounts, must be disclosed to the Probation Officer upon request.

The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.

 

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RETURN

| have executed the within Judgment and Commitment as follows:

Defendant delivered on to
Defendant noted on appeal on

 

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined on
Defendant delivered on to

 

 

at
the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

 

United States Marshal

By
Date Deputy Marshal

 

 

CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

 

 

 

FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, | understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. | fully understand the conditions and have been provided a copy of them.

(Signed)

 

 

Defendant Date

 

 

U. S. Probation Officer/Designated Witness Date

 

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